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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

GESTURE TECHNOLOGY PARTNERS,                         §
LLC,                                                 §
                                                     §
                  Plaintiff,                         §
                                                     §
v.                                                   §   CIVIL ACTION NO. 2:21-CV-00040-JRG
                                                     §              (LEAD CASE)
HUAWEI DEVICE CO., LTD., HUAWEI                      §
DEVICE USA INC.,                                     §
                                                     §
                  Defendants.                        §
                                                     §
                                                     §
SAMSUNG ELECTRONICS CO., LTD.                        §   CIVIL ACTION NO. 2:21-CV-00041-JRG
AND SAMSUNG ELECTRONICS                              §              (CONSOLIDATED CASE)
AMERICA, INC.,                                       §
                                                     §
                  Defendants.                        §

                                               ORDER
          Before the Court is the Defendants’ Motion For Leave To Amend Invalidity Contentions

(Dkt. No. 76) (the “Motion”). In the Motion, Defendants Samsung Electronics Co., Ltd. and

Samsung Electronics America, Inc. (“Samsung”) request leave to supplement their Invalidity &

Subject-Matter Eligibility contentions (“Invalidity Contentions”). Samsung further informs the

Court that Plaintiff Gesture Technology Partners, LLC (“Gesture”) opposes the Motion.

          Having considered the Motion, the associated briefing, and for the reason stated herein, the

Court finds that the Motion should be GRANTED.

     I.      BACKGROUND

          Gesture filed the above-captioned suit against Samsung on February 4, 2021, alleging

infringement of U.S. Pat. Nos. 8,194,924 (the “’924 Patent”); 7,933,431 (the “’431 Patent”);

8,878,949 (the “’949 Patent”); and 8,553,079 (the “’079 Patent”) (collectively, the “Asserted
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Patents”). (Case No. 2:21-cv-41, Dkt. No. 1.) Gesture alleged that Samsung’s smartphones and

tablets, including the Samsung Galaxy Note Series, S Series, Z Series, A Series, M Series, Galaxy

Tab S7/7+, S6, S5, and S4 products. Samsung served its Invalidity Contentions on Gesture on

July 6, 2021 and filed this Motion for leave to serve amended invalidity contentions on September

17, 2021.

   II.        LEGAL STANDARD

          Under the Local Rules of the Eastern District of Texas, leave to amend invalidity

contentions “may be made only by order of the court, which shall be entered only upon a showing

of good cause.” P.R. 3-6(b). “Good cause,” according to the Federal Circuit, “requires a showing

of diligence.” O2 Micro Int'l Ltd. v. Monolithic Power Sys., Inc., 1366 (Fed. Cir. 2006). The Court

weighs multiple factors in determining whether good cause exists for leave to amend invalidity

contentions, including but not limited to: (1) the length of the delay and its potential impact on

judicial proceedings; (2) The reason for the delay, including whether it was within the reasonable

control of the movant; (3) whether the offending party was diligent in seeking an extension of

time; (4) the importance of the particular matter; and (5) the danger of unfair prejudice to the non-

movant. Allure Energy, Inc. v. Nest Labs, Inc., 84 F. Supp. 3d 538, 540-41 (E.D. Tex. 2015)

(quoting Comput. Acceleration Corp. v. Microsoft Corp., 481 F. Supp. 2d 620, 625 (E.D. Tex.

2007)).

   III.      ANALYSIS

          Samsung requests leave to supplement its original invalidity contentions with additional

information obtained from third-party subpoenas regarding the TV Controller Using Hand

Gestures and Related Interactive Computer Graphics Applications (“MERL”) and 3D Image

Control with Hand Gestures, including Control of Molecular Biology Modeling (“MDScope”)



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prior art systems that it disclosed and charted in its original invalidity contentions. (Dkt. No. 76

at 1-2.) Samsung further informs the Court that the supplement does not seek to introduce new

theories of invalidity or to alter the substance of existing theories. (Id. at 3.) Rather, Samsung

contends that the supplement will merely serve to better explain and clarify for the jury the existing

invalidity theories in this case.    (Id.)   Gesture does not dispute that Samsung’s proposed

supplement is limited to “background and support” for systems disclosed in the original

contentions. (Dkt. No. 90 at 4.)

       Samsung argues that it has good cause to supplement its invalidity contentions because it

was diligent in obtaining and disclosing the new information to Gesture, the supplement is

important to the case as it will provide clarity to the jury regarding Samsung existing invalidity

theories, and it will not prejudice Gesture to allow Samsung to supplement the contentions.

Regarding diligence and the reason for the delay, Samsung notes that it served the third-party

subpoenas on Mitsubishi Electric Research Laboratories, Inc. and the Beckman Institute at the

University of Illinois at Urbana-Champaign—the respective creators of the MERL and MDScope

systems—roughly eleven weeks before the close of fact discovery. (Dkt. No. 76 at 3.) Samsung

also states that it disclosed the new information on MDScope and MERL to Gesture nine days and

one day, respectively, after receiving the materials in response to the subpoenas. (Dkt. No. 94 at

2.) Gesture responds that Samsung fails to explain why it waited roughly a month after receiving

the first new materials to propose its supplement. (Dkt. No. 90 at 3-4.)

       With regard to prejudice, Samsung contends that Gesture will not be prejudiced by the

supplement because it merely adds additional support to prior art systems that were disclosed in

the original contentions. (Dkt. No. 76 at ) Gesture responds that it would be prejudiced because




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of the delay and because the supplement would take effect after the claim construction hearing.

(Dkt. No. 90 at 4-5.)

         Lastly, Samsung argues that the supplement is important to the case because it will provide

clarity and further explanation of two prior art systems to the jury. Gesture responds that Samsung

has conceded that the supplements are not important because they are “nothing new or unique”

and are merely cumulative of existing information. (Dkt. No. 90 at 4.)

         The Court agrees with Samsung. In this particular situation, Samsung appears to have been

diligent in supplementing its contentions. It informed Gesture of the new information in a timely

fashion and any delay appears to have been caused by the inevitable time necessary for third parties

to respond to subpoenas and the lack of publicly available information regarding the prior art

systems. Samsung is also not seeking to introduce new invalidity theories via its supplement and,

as a result, the relative lack of prejudice also weighs in favor of granting the Motion. Finally, the
     .
Court agrees with Samsung that the ability of the new information to clarify and explain the

references disclosed in the original contentions renders it sufficiently important to this case.

Gesture’s arguments to the contrary are not persuasive.

   IV.      CONCLUSION

         For the reasons stated above, the Court hereby GRANTS Defendants’ Motion For Leave

To Amend Invalidity Contentions (Dkt. No. 76).

         So ORDERED and SIGNED this 24th day of January, 2022.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE


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